        Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 1 of 27



Jacqueline R. Papez
Cynthia D. Brooks
DONEY CROWLEY P.C.
P.O. Box 1185
50 South Last Chance Gulch, 3rd Floor
Helena, MT 59601
Telephone: (406) 443-2211
Facsimile: (406) 449-8443
jpapez@doneylaw.com
cbrooks@doneylaw.com

Jonathan W. Rauchway (Admitted Pro Hac Vice)
Mave A. Gasaway (Admitted Pro Hac Vice)
Andrea M. Bronson (Admitted Pro Hac Vice)
DAVIS GRAHAM & STUBBS LLP
1550 17th Street, Suite 500
Denver, CO 80202
Telephone: (303) 892-9400
Facsimile: (303) 893-1379
jon.rauchway@dgslaw.com
mave.gasaway@dgslaw.com
Counsel for Defendants

      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                     MONTANA - BUTTE DIVISION

COTTONWOOD                              )
ENVIRONMENTAL LAW                       )
CENTER, et al.,                         )   Case No. 2:20-cv-00028-BMM
                                        )
              Plaintiffs,               )   DEFENDANTS’ BRIEF IN
vs.                                     )   OPPOSITION TO PLAINTIFFS’
                                        )   MOTION FOR SUMMARY
RON EDWARDS, in his official            )   JUDGMENT AND INJUNCTIVE
capacity as Manager of the Big Sky      )   RELIEF
Water and Sewer District; and BIG       )
SKY WATER AND SEWER                     )
DISTRICT,                               )
                                        )
             Defendants.
          Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 2 of 27



                                         TABLE OF CONTENTS
                                                                                                                    Page

INTRODUCTION .....................................................................................................1

ARGUMENT .............................................................................................................4

I.       THERE IS NO DIRECT DISCHARGE IN THIS CASE. ..............................4

         A.       The District’s storage ponds are not plumbed to the underdrain. .........5

         B.       The underdrain pipe does not add pollutants to surface waters. ...........6

II.      PLAINTIFFS’ OVER-IRRIGATION THEORY LACKS AN
         ACTIONABLE POINT SOURCE, AND IS BASED ON DISPUTED
         FACTS IN ANY EVENT. ...............................................................................7

         A.       Defendants do not own or operate the alleged golf course point
                  sources and Plaintiffs misconstrue the Maui decision. .........................8

         B.       Any Maui analysis should start with the District’s compliance
                  with Montana’s regulation of the alleged discharges, which is
                  disputed. ..............................................................................................10

         C.       Consideration of the Maui factors implicates numerous disputed
                  issues of material fact. .........................................................................13

III.     INJUNCTIVE RELIEF IS NOT APPROPRIATE. ......................................18

         A.       Defendants have not violated the CWA, which precludes
                  injunctive relief....................................................................................18

         B.       The District could apply for a discharge permit. ................................19

CONCLUSION ........................................................................................................21




                                                          -i-
          Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 3 of 27



                                      TABLE OF AUTHORITIES

                                                                                                              Page(s)

Cases

Cnty. of Maui v. Hawaii Wildlife Fund,
  140 S. Ct. 1462 (2020) .................................................................................passim

L.A. Cnty. Flood Control Dist. v. Nat. Res. Def. Council,
   568 U.S. 78 (2013) ............................................................................................ 6, 7

ONRC Action v. U.S. Bureau of Reclamation,
  798 F.3d 933 (9th Cir. 2015) ................................................................................ 6

Or. Nat. Desert Ass’n v. U.S. Forest Serv.,
   550 F.3d 778 (9th Cir. 2008) .............................................................................. 11

Pac. Coast Fed’n of Fishermen’s Ass’ns v. Glaser,
  945 F.3d 1076 (9th Cir. 2019) .............................................................................. 4

S. Fla. Water Mgmt. Dist. v. Miccosukee Tribe of Indians,
   541 U.S. 95 (2004) ................................................................................................ 6

Statutes

33 U.S.C. § 1251 et seq. (1972) ........................................................................passim

33 U.S.C. § 1311(a) ................................................................................................... 6

33 U.S.C. § 1362(12) ................................................................................................. 6

Mont. Code Ann. § 75-5-101 et seq......................................................................... 11

Mont. Code Ann. § 75-5-104 ................................................................................... 11

Other Authorities

Fed. R. Civ. P. 30(b)(6)............................................................................................ 12

Fed. R. Evid. 701 ..................................................................................................... 14

Fed. R. Evid. 702 ..................................................................................................... 14

Mont. Admin. R. § 17.30.101 et seq. ....................................................................... 11


                                                          - ii -
         Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 4 of 27



Mont. Admin. R. § 17.30.1001 et seq. ..................................................................... 11

Mont. Admin. R. § 17.30.1022(1)(g) ....................................................................... 12

Mont. Admin. R. § 17.30.1023(3) ........................................................................... 11




                                                   - iii -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 5 of 27



      Defendants Big Sky County Water & Sewer District No. 363 (the “District”)

and Ron Edwards, in his official capacity (collectively, “Defendants”), submit this

brief in opposition to the Motion for Summary Judgment and Injunctive Relief

(“Motion”) filed by Plaintiffs Cottonwood Environmental Law Center, Montana

Rivers, and Gallatin Wildlife Association (collectively, “Plaintiffs”).

                                INTRODUCTION

      Plaintiffs’ Motion is replete with factual errors, misstatements of the law,

and—above all—expert opinion masquerading as established fact. Plaintiffs claim

the District’s ponds discharge over 21 million gallons of treated effluent each year

to the West Fork of the Gallatin River (“West Fork”). This is the opinion of

Plaintiffs’ expert, not a fact, much less an undisputed fact. Defendants’ expert

concluded that pond leakage is de minimis, far less than the Montana Department

of Environmental Quality’s (“DEQ”) standard for the allowable leakage per year,

and that there is no direct discharge to the West Fork.

      Plaintiffs also claim the District over-irrigates the Meadow Village golf

course resulting in a massive discharge of pollutants to the West Fork. Again, this

is the opinion of Plaintiffs’ expert, not an undisputed fact. Defendants’ expert

performed an analysis of golf course irrigation and concluded it was within

agronomic limits established by DEQ—that is, the amount of nutrients applied to

the golf course does not exceed the capacity of the soil and vegetation to absorb the

nutrients, preventing meaningful discharge to the West Fork.

                                         -1-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 6 of 27



      As explained in Defendants’ motion for summary judgment (Docs. 72-74),

Plaintiffs’ claims fail as a matter of law because the undisputed evidence

demonstrates there is no “point source” that could support Plaintiffs’ claims under

the Clean Water Act, 33 U.S.C. § 1251 et seq. (1972) (“CWA”). Additional legal

defects in Plaintiffs’ claims are described in this response. But if the Court

determines that any part of Plaintiffs’ complaint survives Defendants’ motion for

summary judgment, this is the quintessential case where a trial is necessary to

resolve the material disputed facts underlying Plaintiffs’ claims. Specifically,

Plaintiffs’ Motion should be denied for three reasons.

      First, there is no direct discharge from the District’s storage ponds.

Plaintiffs claim the District directly discharges treated effluent from the ponds to

the West Fork through the underdrain pipe. However, the storage ponds are not

connected to the underdrain system, and it is undisputed that the underdrain does

not convey effluent directly from the storage ponds to the West Fork. Instead, the

underdrain pipe merely transports groundwater that would end up in the West Fork

even if the underdrain were not there. The underdrain pipe does not cause the

“addition” of any pollutant to the West Fork. Accordingly, there is no CWA

violation.

      Second, Plaintiffs’ indirect discharge theory—that the Meadow Village golf

course is over-irrigated with treated effluent—fails because Defendants do not own



                                         -2-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 7 of 27



or operate the French drains on the golf course that Plaintiffs claim are the point

sources discharging pollutants into the West Fork. These French drains are not

part of the irrigation system, and Plaintiffs do not even argue that Defendants have

any control over them. Instead, Plaintiffs argue Defendants are liable because

there is a “functional equivalent of a point source.” Pls.’ Br. (Doc. 77) at 14, 19.

There is no such thing. The Supreme Court’s decision in County of Maui v.

Hawaii Wildlife Fund allows for the “functional equivalent of a direct discharge,”

but requires a point source owned or operated by the defendant from which

pollutants originate, and none exists here. 140 S. Ct. 1462 (2020) (emphasis

added). Even if Plaintiffs’ indirect discharge theory were viable, it is based on

material disputed facts concerning the District’s compliance with state regulatory

standards and the technical consequences of its operations. Summary judgment is

therefore unavailable to Plaintiffs.

      Third, injunctive relief is neither warranted nor appropriate. Plaintiffs have

proved no violation of the CWA, and the Court must determine that a defendant is

liable before considering what relief may be awarded. Moreover, Plaintiffs’

request for injunctive relief is based on the faulty premise that a discharge permit

could not be obtained. Although DEQ has determined that the District “is not

required to and do[es] not currently hold a discharge permit,” the District has




                                         -3-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 8 of 27



obtained a discharge permit in the past and could do so again if required.

Plaintiffs’ Motion should be denied.

                                   ARGUMENT

I.    THERE IS NO DIRECT DISCHARGE IN THIS CASE.

      “To establish a violation of the CWA, ‘a plaintiff must prove that defendants

(1) discharged, i.e., added (2) a pollutant (3) to navigable waters (4) from (5) a

point source.’” Pac. Coast Fed’n of Fishermen’s Ass’ns v. Glaser, 945 F.3d 1076,

1083 (9th Cir. 2019) (quoting Comm. to Save Mokelumne River v. E. Bay Mun.

Util. Dist., 13 F.3d 305, 308 (9th Cir. 1993)); see also Cnty. of Maui, 140 S. Ct. at

1468 (“The Clean Water Act forbids the ‘addition’ of any pollutant from a ‘point

source’ to ‘navigable waters’ without the appropriate permit.”).

      Plaintiffs argue the District violated the CWA by “directly discharging 21.12

million gallons of treated sewage per year from a pipe below the holding ponds

into the West Fork.” Pls.’ Br. at 16. The parties’ experts dispute whether the

volume of treated effluent that migrates into this pipe is millions of gallons per

year or a de minimis amount—a monumental difference of opinions. SDF ¶¶ 21,

60. Regardless, Plaintiffs identify no direct discharge to surface waters. The

“pipe” (i.e., the underdrain) is not connected to the storage ponds and does not

directly discharge treated effluent from the ponds. Accordingly, there is no

“addition” of “pollutants” from the underdrain pipe because it merely carries

groundwater that would otherwise reach surface waters (e.g., the West Fork) even

                                         -4-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 9 of 27



if the underdrain were not there. As to these points, there is no dispute, and

Plaintiffs’ direct discharge theory therefore fails.

      A.     The District’s storage ponds are not plumbed to the underdrain.

      It is undisputed that the underdrain does not convey effluent directly from

the storage ponds to the West Fork. The underdrain is not plumbed to the storage

ponds. Doc. 73 at ¶ 17 (Defendants’ Statement of Undisputed Facts (“SUF”) to

support Defendants’ Motion for Summary Judgment). Rather, the District installed

the underdrain to provide a preferential pathway for groundwater flow, lowering

the water table beneath the ponds and preventing groundwater from “floating” the

pond liners. Id. ¶ 12. A high-density polyethylene liner and layers of engineered

and native substrate separate treated effluent in the ponds from the underdrain. Id.

¶ 9. There is no component of the facility design that conveys water stored in the

ponds to the underdrain. Id. ¶ 11. Therefore, as the Court previously recognized,

“[t]he hydrology of the system at issue does not support a direct discharge theory.”
               1
Doc. 35 at 12.




1
  The storage ponds themselves are not point sources under the CWA, primarily
because they are not “conveyances.” See Doc. 74 at 14-22. Even if the Court were
to disagree, there still would be no direct discharge because any leakage from the
ponds percolates into the subsurface and not to navigable waters. Plaintiffs do not
argue an indirect discharge theory based on pond leakage.

                                          -5-
         Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 10 of 27



      B.      The underdrain pipe does not add pollutants to surface waters.

      Plaintiffs also appear to argue that the underdrain, by itself, is a point source

that directly discharges to the West Fork. Pls.’ Br. at 16-17. This theory fails

because the underdrain does not result in the “addition” of any “pollutants” to the

West Fork. Rather, as explained in Defendants’ summary judgment brief, it simply

moves water from one part of a water body to another part of that same water

body. See Doc. 74 at 22-24; see also Doc. 35 at 11 (noting the parties’ agreement

that the groundwater and the West Fork are a hydrologically connected water

body).

      The CWA prohibits the “addition of any pollutant to navigable waters from

any point source” without a permit. 33 U.S.C. §§ 1311(a), 1362(12) (emphasis

added). “[N]o pollutants are ‘added’ to a water body when water is merely

transferred between different portions of that water body.” L.A. Cnty. Flood

Control Dist. v. Nat. Res. Def. Council, 568 U.S. 78, 82 (2013). Thus, where water

would naturally migrate within a water body “absent human intervention”—such

as the underdrain—there is no “addition” of pollutants. See S. Fla. Water Mgmt.

Dist. v. Miccosukee Tribe of Indians, 541 U.S. 95, 109-11 (2004); see also ONRC

Action v. U.S. Bureau of Reclamation, 798 F.3d 933, 937-38 (9th Cir. 2015)

(finding that waters transferred by a man-made canal system to the Klamath River

are not “meaningfully distinct” from the waters of the river itself because the water

would have drained to the river without the canal).

                                         -6-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 11 of 27



      That is the case here. The underdrain pipe conveys groundwater to the West

Fork that would naturally reach the river on its own, absent the underdrain system.

SDF ¶ 14. Because “water is merely transferred between different portions of that

water body,” L.A. Cnty. Flood Control Dist., 568 U.S. at 82, there is no “addition”

of pollutants to the West Fork, and no discharge permit is required for the

underdrain pipe.

II.   PLAINTIFFS’ OVER-IRRIGATION THEORY LACKS AN
      ACTIONABLE POINT SOURCE, AND IS BASED ON DISPUTED
      FACTS IN ANY EVENT.

      Plaintiffs also claim the District violated the CWA because over-irrigation of

the Meadow Village golf course is the “functional equivalent of a point source

discharge” under Maui. Pls.’ Br. at 18-19. Plaintiffs misinterpret Maui, and their

over-irrigation theory is not legally cognizable. Plaintiffs appear to believe Maui

eliminated the requirement of an originating point source, arguing the District

violated the statute due to diffuse percolation of irrigation water that eventually

migrates to a point source that Defendants do not own. This is not the law. Every

CWA violation requires the discharge to originate from a point source owned or

operated by the defendant, and Plaintiffs cannot show that here.

      Assuming the Court finds a Maui analysis necessary—despite the lack of an

originating point source—Plaintiffs also ignore an overriding consideration under

the Maui “functional equivalent” analysis: Montana already regulates the



                                         -7-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 12 of 27



groundwater discharges at issue here, and the parties disagree on whether the

District is complying with Montana’s regulation of these discharges.

      If Plaintiffs’ over-irrigation theory survives summary judgment, their Maui

analysis implicates numerous disputed issues of fact that preclude summary

judgment and would need to be resolved at trial.

      A.     Defendants do not own or operate the alleged golf course point
             sources and Plaintiffs misconstrue the Maui decision.

      Plaintiffs identify seven French drains located throughout the Meadow

Village golf course as the alleged point sources for their over-irrigation theory.

See Pls.’ Br. at 18-24. The primary problem with Plaintiffs’ theory is that

Defendants do not own, operate, maintain, or otherwise control these French

drains, which are not even part of the golf course irrigation system. SUF ¶ 20. As

detailed in Defendants’ summary judgment brief, ownership or control over the

point source is required for CWA liability to attach. See Doc. 74 at 12-14.

Plaintiffs’ irrigation claim thus fails at the threshold.

      Because the District does not own or operate the alleged point sources on the

golf course, Plaintiffs instead argue over-irrigation is “the functional equivalent of

a point source requiring a discharge permit.” Pls.’ Br. at 14, 19. This is not a

legally cognizable claim. The CWA requires a permit when there is “the

functional equivalent of a direct discharge,” not the functional equivalent of a

point source. Cnty. of Maui, 140 S. Ct. at 1476 (emphasis in original altered).


                                           -8-
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 13 of 27



      Maui does not relieve Plaintiffs of their burden of identifying an actionable

point source. Rather, the Supreme Court evaluated whether the CWA “requires a

permit when pollutants originate from a point source but are conveyed to

navigable waters by . . . groundwater.” Cnty. of Maui, 140 S. Ct. at 1468

(emphasis added). The Court concluded that, where treated effluent is discharged

from the point source and mixes with groundwater before entering a navigable

water, the CWA would require a National Pollutant Discharge Elimination System

permit “if the addition of the pollutants through groundwater is the functional

equivalent of a direct discharge from the point source into navigable waters.” Id.

(emphasis added).

      Here, there is no point source owned or operated by Defendants, so

Plaintiffs’ Maui analysis is backward. They claim that because the District

supplies treated effluent to the golf course, and because “[t]he Golf Course was

irrigated near” the French drains, Pls.’ Br. at 13, the District is somehow

responsible for eventual discharges of irrigation water from these French drains—

the alleged point sources, see id. at 21 (“The Chapel Springs drain is a French drain

at the end of the Golf Course discharging to the West Fork.”). Plaintiffs then apply

the Maui factors, concluding that migration of irrigation water from the land

surface, through the subsurface and groundwater, and then out the French drains




                                         -9-
        Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 14 of 27



amounts to “the functional equivalent of a point source requiring a discharge

permit.” Pls.’ Br. at 14, 19.

       There is no such thing as the “functional equivalent of a point source.” In

every case, the CWA requires the pollutant to originate from a point source that is

owned or operated by the Defendants. Because Plaintiffs cannot make that

showing here, their “functional equivalent” analysis fails, and their Motion should

be denied.

       B.      Any Maui analysis should start with the District’s compliance
               with Montana’s regulation of the alleged discharges, which is
               disputed.

       Because Defendants do not control the alleged point sources and Plaintiffs

cannot sue over the “functional equivalent of a point source,” the Court need go no

further. But if any Maui analysis is required here, Plaintiffs ignore a critical aspect

of it—the District’s compliance with Montana’s regulations that specifically apply

to its facilities.

       Maui provides seven factors that “may prove relevant” in evaluating whether

a discharge to groundwater is functionally equivalent to a direct discharge to

navigable waters. Cnty. of Maui, 140 S. Ct. at 1476. It does not, however, require

courts to mechanically apply those seven factors, or any particular factors at all.

Rather, the Supreme Court left it to lower courts to “provide guidance through

decisions in individual cases,” with an eye toward the “underlying statutory

objectives.” Id. at 1477.

                                         - 10 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 15 of 27



      One of the CWA’s most important statutory objectives is that “as to

groundwater pollution and nonpoint source pollution, Congress intended to leave

substantial responsibility and autonomy to the States.” Id. at 1471; see also Or.

Nat. Desert Ass’n v. U.S. Forest Serv., 550 F.3d 778, 785 (9th Cir. 2008) (“[T]he

control of non-point source pollution often depends on land use controls, which are

traditionally state or local in nature.” (citation omitted)). Given the statute’s

deference to state authority over groundwater, trial courts’ decisions on functional

equivalence should “preserve state regulation of groundwater and other nonpoint

sources of pollution.” Cnty. of Maui, 140 S. Ct. at 1476.

      Montana regulates groundwater quality under the Montana Water Quality

Act, Mont. Code Ann. § 75-5-101 et seq., and its implementing regulations, Mont.

Admin. R. § 17.30.101 et seq. Under Montana’s groundwater quality permitting

regulations, Mont. Admin. R. § 17.30.1001 et seq., DEQ requires an owner or

operator of a facility “which may discharge pollutants into state ground waters” to

obtain a Montana Groundwater Pollution Control System permit. Id. §

17.30.1023(3). Unlike the federal CWA, Montana’s permitting regime extends

DEQ’s authority to “drainage or seepage” from “artificial, privately owned ponds

or lagoons,” where such seepage could pollute groundwater. Mont. Code Ann. §

75-5-104. However, DEQ’s regulations also expressly exempt from the permitting

requirements any “public sewage systems that apply reclaimed wastewater at



                                         - 11 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 16 of 27



agronomic rates to land as a method of disposal and that have been reviewed and

approved by the department under Title 75, chapter 6, and ARM 17.38.101.”

Mont. Admin. R. § 17.30.1022(1)(g).

      DEQ’s Rule 30(b)(6) witness confirmed these regulatory standards apply to

the District’s Water Resources Recovery Facility (“WRRF”). Under Montana

Administrative Rules section 17.30.1022(1)(g), DEQ does not require the District

to obtain a discharge permit for disposal of treated effluent if irrigation is within

the agronomic limits of the golf course turfgrass. See Doc. 73-3 at 53:21-54:12; id.

at 56:23-57:11; see also SDF ¶ 76. Similarly, DEQ does not require a discharge

permit for the District’s storage ponds so long as the pond liners leak less than six

inches per year. SUF ¶ 10; Doc. 73-3 at 74:3-76:11.

      The District’s compliance with these state groundwater standards implicates

disputed issues of fact. The parties dispute whether the golf course is over-

irrigated. The DEQ-approved plan allows the District to supply up to 108 pounds

per acre per year of nitrogen via reclaimed wastewater used for irrigation. See

Doc. 22-1 at 11. Plaintiffs’ expert calculated that irrigation water added nitrogen

to the golf course at a rate of 289 pounds per acre per year in 2020. SDF ¶ 75. In

contrast, Defendants’ expert calculated a rate of 106 pounds per acre per year in

2020. SDF ¶ 76.




                                         - 12 -
         Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 17 of 27



      The parties also disagree about the rate at which any effluent leaks from the

District’s storage ponds. Plaintiffs’ expert asserts that more than 20 million

gallons of effluent leak through the pond liners each year, but Defendants’ expert

determined leakage to be a de minimis amount. SDF ¶¶ 21, 60.

      If Plaintiffs’ over-irrigation claim proceeds, these factual issues must be

resolved at trial to determine whether the District is required to obtain a discharge

permit. If the District is complying with state regulatory standards such that DEQ

will not require a permit, but the Court nonetheless required the District to obtain a

permit, the District would be left in a peculiar position—it would need to obtain a

surface water discharge permit from DEQ for the eventual fate of a groundwater

discharge that DEQ expressly exempts from permitting. This outcome would

undermine Montana’s regulation of state groundwater—and, importantly, Maui’s

recognition of State primacy over groundwater regulation under the CWA. If the

Court resolves these issues in the District’s favor, no CWA violation should be

found.

      C.      Consideration of the Maui factors implicates numerous disputed
              issues of material fact.

      As discussed in Sections II.A and II.B, above, the Court need not consider

the Maui factors in this case. Plaintiffs have not argued any pollutant is discharged

from an originating point source owned or operated by Defendants before it

allegedly reaches surface water through groundwater, precluding consideration of


                                        - 13 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 18 of 27



whether the discharge is the “functional equivalent” of a discharge from a point

source to a navigable water. If, however, the Court determines an analysis of the

factors enumerated in Maui is warranted, summary judgment is not appropriate

because these are highly factual and technical issues about which the parties’

experts have reached opposite conclusions. Faced with such a “battle of the

experts,” the Court cannot grant summary judgment.

      Factors 1 and 2. Plaintiffs claim there is virtually no distance for nitrogen

in the groundwater to travel before reaching the West Fork, relying primarily on a

Ph.D thesis written by Kristin Gardner and a Technical Memorandum written by

Chris Allen. Pls.’ Br. at 19-20. The thesis and Technical Memorandum are
                                                           2
inadmissible and should not be considered by the Court. Regardless, although

Plaintiffs argue that transit time is the most important factor, Pls.’ Br. at 19, they

fail to provide any evidence of the time it takes nitrogen applied to the golf course

to reach the West Fork. They simply argue that it takes less time for nitrogen

applied to the golf course to reach the river than nitrogen from leaking septic

systems further upgradient. Id. This is irrelevant to the analysis.



2
  Ms. Gardner and Mr. Allen are third parties, neither of whom has been retained or
disclosed as an expert in this case. Their opinions based on their respective
technical, scientific, and specialized knowledge are thus not admissible. Fed. R.
Evid. 701 (“If a witness is not testifying as an expert, testimony in the form of an
opinion is limited to one that is: . . . (c) not based on scientific, technical, or other
specialized knowledge within the scope of Rule 702.”).

                                         - 14 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 19 of 27



      The parties dispute whether any significant amount of nitrogen from

irrigation gets to groundwater in the first place, and whether or when such nitrogen

would get to the river through groundwater given the travel time and distance.

Doc. 26-7 ¶ 6 (describing Mr. Cunnane’s analysis that most of the nitrogen in the

irrigation water is consumed by the golf course grass); SDF ¶ 76 (describing Mr.

Buecker’s calculation that the amount of nitrogen applied for irrigation in 2020

was below the amount authorized by DEQ).

      Factors 3, 5, and 6.3 For each of these factors, Plaintiffs base their

argument on irrigation water reaching the West Fork through the Golf

Course/Chapel Springs drain. Pls.’ Br. at 21-23. As explained above, the Chapel

Springs or Golf Course drain is a French drain that the owner of the golf course

(Boyne) owns, operates, and maintains to prevent puddling and to maintain the

playability of the golf course. The drain is not a component of the irrigation

system. The CWA does not impose liability on the District for any potential

discharges from the Golf Course drain because the District does not own, control,




3
  Factor 3 is the nature of material through which the pollutant travels; Factor 5 is
the amount of pollutant entering the navigable waters relative to the amount of the
pollutant that leaves the point source; and Factor 6 is the manner by or area in
which the pollutant enters the navigable waters.


                                        - 15 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 20 of 27



or operate the drain—and accordingly does not have the right to plug, divert, or

remove this drain. SUF ¶¶ 20-21.

      Moreover, the opinions of Defendants’ expert rebut Plaintiffs’ arguments.

As to Factor 3, Mr. Cunnane has explained “there is significant clay and organic

matter in the soils beneath the golf course, providing high water retention and ion

exchange capacity. As a cation molecule, ammonia is strongly adsorbed to soil

through ion exchange processes.” Doc. 48-2 at 19. As to Factor 5, Mr. Cunnane

performed a mass loading analysis, which compared the nitrogen load applied to

land from golf course irrigation to the total nitrogen load to the West Fork in the

relevant segment of the river. He concluded that any amount of nitrogen that

reaches the river from irrigation is a small fraction of the total amount applied

through irrigation. See Doc. 48-2 at 24. Finally, Defendants’ sampling showed

that the average nitrate concentration of irrigation water was approximately 0.4 mg

N/L, while the average concentration sampled from the Golf Course Drain was 5.8

mg N/L. Doc. 53-2 ¶ 15. These data reflect an influx of nitrogen from multiple

other sources upgradient of the golf course. See Doc. 48-2 at 24, 26. Plaintiffs

cannot obtain summary judgment on this record.




                                        - 16 -
           Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 21 of 27



          Factors 4 and 7.4 Mr. Cunnane disagrees with Plaintiffs’ characterization

    of the amount of nitrogen from irrigation that reaches the West Fork, explaining

    that agronomic uptake by golf course grass dramatically reduces nitrogen

    concentrations before eventual discharge to the West Fork. Doc. 53-2 at ¶ 13.

    Nitrogen not consumed by grass undergoes chemical dilution and transformation in

    the subsurface. Doc. 48-2 at 21; Doc. 76-5 at 14. Data collected from

    groundwater drains on the golf course show that “immediately down-gradient of

    the irrigated area, the groundwater does not have the same water chemistry as the

    irrigation source water.” Doc. 48-2 at 21. Thus, contrary to Plaintiffs’ claims,

    Defendants’ experts have opined that nitrogen in irrigation water is diluted and

    chemically changed and has materially changed its specific identity before

    reaching the West Fork.

          The foregoing review of the Maui factors demonstrates that Plaintiffs’

    indirect discharge theory implicates numerous disputed issues of material fact and

    diametrically opposed expert opinions. If any of Plaintiffs’ claims survive

    Defendants’ summary judgment motion, the Court must resolve these factual

    disputes at trial. Plaintiffs’ motion for summary judgment should be denied.




4
     Factor 4 is the extent to which the pollutant is diluted or chemically changed as it
    travels; Factor 7 is the degree to which the pollution (at that point) has maintained
    its specific identity.

                                            - 17 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 22 of 27



III.   INJUNCTIVE RELIEF IS NOT APPROPRIATE.

       Plaintiffs ask the Court to permanently enjoin the District: (1) from

accepting new sewer connections; and (2) from supplying the golf course with

treated effluent that contains nitrogen concentrations greater than 15 mg/L. Doc.

75 at 2.5 Injunctive relief is not warranted in this case, and certainly not on the

record before the Court.

       Primarily, Plaintiffs are not entitled to any relief because their claims fail as

a matter of law. See Docs. 72-74. Even if some portion of Plaintiffs’ claims

survives Defendants’ motion for summary judgment, there remain significant

factual and legal disputes as to whether Defendants have violated the CWA.

Finally, Plaintiffs’ request for injunctive relief is premised on their incorrect belief

that the District cannot apply for a discharge permit.

       A.    Defendants have not violated the CWA, which precludes
             injunctive relief.

       Before the Court considers what relief could be awarded, Plaintiffs must first

prove Defendants’ liability. But Defendants have demonstrated in their own

motion for summary judgment that Plaintiffs’ claims fail as a matter of law based

on the undisputed facts. As explained in Defendants’ brief, Plaintiffs have not




5
  Plaintiffs also ask the Court to direct the parties to brief the issue of appropriate
remediation and penalties. Doc. 75 at 2. However, Plaintiffs did not plead
penalties and are not entitled to them. See Doc. 74 at 25-27.

                                          - 18 -
      Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 23 of 27



identified an actionable point source that would support their claims because: (1)

Defendants do not own or control the Meadow Village golf course or any alleged

point source located on the golf course, including the Golf Course drain or any

other French drain; (2) the District’s storage ponds are not a “point source” under

the CWA because they are not a “conveyance” of pollutants and any leakage from

the ponds is diffuse; and (3) the underdrain pipe does not cause the “addition” of

pollutants because it merely moves groundwater that would otherwise reach the

West Fork through natural groundwater flow. See Doc. 74 at 11-24. Because there

has been no CWA violation, the Court should not award any relief.

      If Plaintiffs’ claims are not completely barred as a matter of law, then

genuine issues of material fact still preclude summary judgment in Plaintiffs’

favor, which makes consideration of relief premature. At a minimum, there are

genuine fact disputes concerning whether any of Defendants’ operations can be

considered the “functional equivalent of a direct discharge,” and specifically

concerning Defendants’ compliance with Montana’s regulation of the facilities and

discharges at issue, and whatever other factors the Court considers germane to a

“functional equivalent” analysis in this case. See Sections II.B and II.C, supra.

      B.     The District could apply for a discharge permit.

      Plaintiffs argue that because “environmental injury is sufficiently likely and

the District cannot apply for a discharge permit, the balance of harms favors an

injunction to protect the West Fork.” Pls.’ Br. at 28. This argument is based on a

                                        - 19 -
      Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 24 of 27



faulty premise. Any discharge permit the District might obtain in the future would

be to the main stem of the Gallatin River, not the West Fork. The District

previously held a Montana Pollution Discharge Elimination System (“MPDES”)

permit allowing the District to discharge to the Gallatin River. SDF ¶ 87 (citing

Fourth Declaration of Ron Edwards ¶ 6). The District could apply for such a

permit again, if necessary.

      On January 15, 1999, DEQ issued the District an Authorization to Discharge

under the MPDES, Permit No. MT0030384. Id. ¶ 88. The permit authorized the

District to discharge “from its domestic wastewater treatment facilities to

receiving waters named Gallatin River.” Id. (bold in original). The original

permit was effective from April 1, 1999, and expired on September 30, 2003. Id.

      At the time the discharge permit was issued, the District intended to

construct a mile-long pipeline from the WRRF to the Gallatin River and discharge

treated effluent from the WRRF to the Gallatin River. Id. ¶ 89. The District’s

discharge permit was subsequently extended, and the District submitted a permit

renewal application. Id. ¶ 90.

      In November 2010, DEQ terminated the permit at the District’s request

because: (1) the discharge structure to the Gallatin River had never been

constructed and a direct discharge had never occurred from the WRRF; and

(2) wastewater from the WRRF is applied to the Meadow Village golf course “in



                                       - 20 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 25 of 27



accordance with review provided by the Department’s Technical and Financial

Assurance Bureau.” Id. ¶ 91. DEQ notified the District that if it planned to

“reactivate a discharge to state waters from the Big Sky Wastewater Treatment

Plant, [the District] must complete an appropriate MPDES application.” Id. ¶ 92.

The District has not renewed the permit because all of the effluent from the WRRF

is used for irrigation—none is discharged to surface waters. DEQ agrees,

recognizing that the District follows a “zero-liquid discharge approach,” and

concluding that the District “is not required to and do[es] not currently hold a

discharge permit.” SUF ¶ 8.

      If the Court were to conclude that the District requires a discharge permit for

any of its operations, the remedy would be for the District to apply for and obtain

such a discharge permit from DEQ—not to enjoin the District’s operations. This is

the injunctive relief Plaintiffs requested in their complaint, Doc. 8 at 12.B, and it is

the only injunctive relief they can seek in this case.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ Motion should be denied.




                                         - 21 -
       Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 26 of 27



      DATED this 12th day of November, 2021.


                                               /s/ Jacqueline R. Papez
                                               Jacqueline R. Papez
                                               Cynthia D. Brooks
                                               DONEY CROWLEY P.C.


                                               /s/ Jonathan W. Rauchway
                                               Jonathan W. Rauchway
                                               DAVIS GRAHAM & STUBBS LLP

                                               Attorneys for Defendants


                     CERTIFICATION OF COMPLIANCE

      The undersigned certifies that the foregoing document complies with Local

Rule 7.1(d)(2). The Brief contains 4,680 words, excluding the caption, table of

contents, table of authorities, certificate of compliance, and certificate of service.

The undersigned relied on the word count of the word-processing system used to

prepare the brief.

                                                      /s/ Jonathan W. Rauchway




                                         - 22 -
      Case 2:20-cv-00028-BMM Document 83 Filed 11/12/21 Page 27 of 27



                         CERTIFICATE OF SERVICE

      I hereby certify that on the 12th day of November, 2021, a true and correct
copy of the foregoing DEFENDANTS’ BRIEF IN OPPOSITION TO
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT AND
INJUNCTIVE RELIEF was filed and served via ECF on the following parties:

John Meyer
P.O. Box 412
Bozeman, MT 59771
(406)546-0149
john@cottonwoodlaw.org

Counsel for Plaintiffs


                                                   /s/ Jonathan W. Rauchway
